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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                           CASE NO. 1:06-cr-00027-MP-AK-3

FREDERICK CHARLES HALL,

       Defendant.

_____________________________/

                                           ORDER

       This matter is before the Court on Doc. 238, Motion to Enforce Specific Performance of

Plea Agreement by Frederick Charles Hall. On January 17, 2007, defendant entered into a plea

and cooperation agreement with the United States Attorney for the Northern District of Florida.

In return for defendant’s agreement to plead guilty and cooperate fully, the United States

Attorney agreed to, inter alia, make known his opinion as to the nature and extent of the

defendant’s cooperation.

       In keeping with the plea agreement, defendant plead guilty to conspiracy to distribute and

to possess with intent to distribute more than five kilograms of cocaine, in violation of 21 U.S.C.

§§ 841(b)(1)(A)(iii) and 846. Defendant would normally face a sentence of not less than ten

years or more than life imprisonment, a $4,000,000.00 fine, and a minimum term of five years

supervised release. However, as a result of defendant’s prior felony drug convictions, he faced a

mandatory minimum sentence of twenty years imprisonment, a $4,000,000.00 fine, and a

minimum term of ten years supervised release.

       On March 20, 2008, the United States Attorney certified defendant Hall’s substantial
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assistance pursuant to 18 U.S.C. 3553(e) and § 5K1.1 of the Federal Sentencing Guidelines. The

government evaluated defendant’s assistance as fair. At sentencing, the Court found that the

mandatory minimum did not apply based on the government’s certification of defendant’s

substantial assistance. As such, the Court imposed a sentence of ten years imprisonment to be

followed by ten years supervised release, and waived any fine due to inability to pay. This

sentence was the lower end of the advisory guideline range for a total offense level 27 and

criminal history category V.

        Defendant now moves the Court to enforce specific performance of the plea agreement.

Defendant argues that the government breached the plea agreement by failing to make known the

nature and extent of defendant’s cooperation. In support of his argument, defendant specifically

refers to Section 2, Paragraph k of the plea agreement, which states “[t]he United States Attorney

agrees to make known his opinion as to the nature and extent of the defendant’s cooperation.”

Doc. 115 at 4.

        The Court disagrees that the government breached the plea agreement. The agreement

does not state that the government is obligated to recount the specifics of defendant’s

cooperation. It merely states that “[t]he United States Attorney agrees to make known his

opinion as to the nature and extent of the defendant’s cooperation.” Doc. 115 at 4 (emphasis

added). The government did so in it’s certification of defendant’s substantial assistance by

stating that “[t]he government evaluates defendant’s assistance to date as fair.” Doc. 204 at 3.

        Moreover, even if the government had provided the Court with additional details of

defendant’s cooperation, it would not have affected his sentence. Once the Court determined the

mandatory minimum did not apply based on substantial assistance, it was free to impose a

sentence less than twenty years which it did. In fact, the Court imposed a sentence at the lower
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end of the advisory guideline range. Accordingly, it is hereby

        ORDERED AND ADJUDGED:

        1.       Defendant’s motion to enforce specific performance of plea agreement is
                 DENIED.


        DONE AND ORDERED this            2nd day of September, 2011


                                       s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge




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